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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.
                                             Case Number: 09-cr-117-
                                                  01/06-18-SM

Trevor Allain, Nicholas Champagne,
David Coulombe, Arash Rahbar,
Thomas Donahue, Jeremie St. Pierre,
James W. Molfetta, Michael Gardner,
Derek M. Dutcher, Michael Masse,
Mathieu Nantais, Carlos Perozzi,
Javid Torabizadeh and Jonathan Sauriol
      Defendants

                                    ORDER


      Defendant Gardner’s motion to continue the final pretrial conference and

trial is granted (document no. 111).     Defendant Gardner has filed a Waiver of

Speedy Trial. Trial has been rescheduled for the month of March 2010.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective
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preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference is rescheduled for March 5, 2010 at

10:00 a.m. in Room 421.

      Jury selection will take place on March 16, 2010 at 9:30 a.m.



      SO ORDERED.



                                      _________________________
                                        Steven J. McAuliffe
                                           Chief Judge


October 15, 2010

cc:   Jaye Rancourt, Esq.
      Thomas Butters, Esq.
      Matthew Thompson, Esq.
      Olivier Sakellarios, Esq.
      Robert G. Daniels, Esq.
      Marc Agnifilo, Esq.
      Roger Phillips, Esq.
      David Ruoff, Esq.
      Richard Monteith, Esq.
      Lawrence Vogelman, Esq.
      Lee Ginsberg, Esq.
      Paul Garrity, Esq.
      James Dennehy, Esq.
      George Campbell, III, Esq.
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Richard Hubbard, Esq.
Anthony Cardinale, Esq.
Paul Maggiotto, Esq.
Michael Shklar, Esq.
Donald Kennedy, Esq.
Debra Walsh, AUSA
U.S. Marshal
U.S. Probation




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